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1     HEATHER E. WILLIAMS, Bar No. 122664
      Federal Defender
2     801 I Street, 3rd Floor
      Sacramento, CA 95814-2512
3     Tel: 916-498-5700/Fax: 916-498-5710
      heather_williams@fd.org
4
      Attorney for Defendant
5     TONY ACOSTA ALVAREZ
6                                IN THE UNITED STATES DISTRICT COURT
7                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8
     UNITED STATES OF AMERICA,                   )   Case No. 2:18-cr-001 MCE
9                                                )
                    Plaintiff,                   )   MOTION TO WITHDRAW THE FEDERAL
10                                               )   DEFENDER AND ORDER
     vs.                                         )   GRANTING WITHDRAWAL AND
11                                               )   APPOINTING COUNSEL
     TONY ACOSTA ALVAREZ,                        )
12                                               )
                    Defendant.                   )
13                                               )
                                                 )
14
              The defendant has, under oath, sworn or affirmed as to his financial inability to employ
15
      counsel. The Federal Defender, appointed since the Initial Appearance, is unable to continue
16
      representing the defendant and moves to withdraw from representation and have Todd Leras,
17
      who is willing to accept appointment, appointed effective February 7, 2019.
18
      DATED: February 8, 2019                              HEATHER E. WILLIAMS
19                                                         Federal Defender
20
                                                           s/Heather E. Wuilliams
21                                                         HEATHER E. WILLIAMS
                                                           Federal Defender
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1                                              ORDER
2           Upon the Federal Defender’s Motion and good cause appearing, the Federal Defender’s
3    Motion to Withdraw and appointing Todd Leras, effective February 7, 2019 is granted.
4           IT IS SO ORDERED.
5    Dated: February 11, 2019
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